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  8                              UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
 10
 11 EPIC GAMES, INC.,                               Case No. 2:24-CV-10835-DDP-JC
 12                 Plaintiff,                      [PROPOSED] PERMANENT
                                                    INJUNCTION AGAINST
 13            v.                                   DEFENDANT SEBASTIAN
                                                    ARAUJO
 14 SEBASTIAN ARAUJO,
 15                                                 Hearing:
                    Defendant.
                                                    Date: June 2, 2025
 16                                                 Time: 10:00 a.m.
 17                                                 Place: Courtroom 9C
                                                           350 West 1st Street
 18                                                        Los Angeles, CA. 90012
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                                                    Honorable Dean D. Pregerson
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  1            This action came before the Court, the Honorable Dean D. Pregerson,
  2   United States District Judge presiding, on the motion of Plaintiff Epic Games, Inc.
  3   (“Epic”) for default judgment against Defendant Sebastian Araujo (“Defendant”).
  4
               GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED
  5
      AND ADJUDGED that,
  6
                               FINDINGS AND CONCLUSIONS
  7
               1.   This is an action for circumvention of technological measures in
  8
      violation of the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C.
  9
      § 1201(a)(1)(A); breach of contract; copyright infringement in violation of the
 10
      Copyright Act, 17 U.S.C. § 501 et seq.; and fraud in the inducement.
 11
               2.   Defendant by, among other things, using a “direct memory access”
 12
      (“DMA”) device and cheat software to cheat in Fortnite tournaments and
 13
      circumvent Epic’s technological anti-cheat measures that prevent cheaters from
 14
      accessing Fortnite, and creating and using fake Epic Games accounts with false or
 15
      misleading identifying information to continue cheating in Fortnite tournaments
 16
      despite being banned, circumvented Epic’s technological measures controlling
 17
      access to Fortnite, breached Epic’s Fortnite End User License Agreement
 18
      (“EULA”) and tournament agreements that applied to each Fortnite tournament that
 19
      Defendant entered into (“Tournament Agreements”), infringed Epic’s copyrights in
 20
      Fortnite, and fraudulently induced Epic into entering into the Fortnite EULA and
 21
      Tournament Agreements with Defendant.
 22
               3.   In its Complaint, Epic sought injunctive relief, among other relief.
 23
               4.   Upon Epic’s request, this Court entered default against Defendant on
 24
      March 7, 2025. Epic’s allegations against Defendant are therefore deemed true,
 25
      except those regarding damages. TeleVideo Sys., Inc. v. Heidenthal, 862 F.2d 915,
 26
      917–18 (9th Cir. 1987).
 27
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  1            5.      Epic then filed a motion for default judgment along with supporting
  2 declarations demonstrating its entitlement to damages and a permanent injunction
  3 against Defendant. Epic suffered and continues to suffer irreparable injury in the
  4 form of harm to its reputation and goodwill with the Fortnite community for
  5 providing a fair and level playing field in its Fortnite tournaments and undermining
  6 the integrity of Fortnite tournaments. The remedies available to Epic at law—such
  7 as monetary damages—are inadequate to compensate for that injury. The balance
  8 of hardships favor equitable relief, and an injunction is in the public interest.
  9            6.      The Court has subject matter jurisdiction over Epic’s federal claims
 10 under 28 U.S.C. §§ 1331 and 1338(a) because this action arises under the DMCA,
 11 17 U.S.C. § 1201(a)(1)(A), and the Copyright Act, 17 U.S.C. § 501 et seq., and
 12 supplemental jurisdiction over Epic’s related state law claims under 28 U.S.C.
 13 § 1367(a).
 14            7.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and
 15 § 1400(a) because (a) Defendant resides in this District, and/or (b) a substantial part
 16 of the events giving rise to Epic’s claims occurred in this District.
 17            8.      The Court has personal jurisdiction over Defendant for the purpose of
 18 entry and enforcement of this Permanent Injunction.
 19                                          INJUNCTION
 20            Defendant is enjoined as follows:
 21            A.      Defendant and his officers, agents, representatives, servants,
 22 employees, heirs, successors, and assigns, and all others in active concert or
 23 participation with Defendant are permanently enjoined from:
 24                   i.   Infringing, or inducing, contributing, or enabling others to infringe,
 25                        Epic’s copyrights;
 26                  ii.   Downloading, installing, possessing, and/or using any of Epic’s
 27                        copyrighted works, including but not limited to Fortnite;
 28                 iii.   Circumventing any of Epic’s technological measures that control

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  1                       access to Epic’s copyrighted works, including but not limited to
  2                       Fortnite;
  3                 iv.   Using any software or device not authorized by Epic that provides
  4                       Fortnite players a competitive advantage in Fortnite; and
  5                 v.    Aiding or assisting another person or entity in any of the activities
  6                       described in (i)–(iv) above.
  7                                      BINDING EFFECT
  8            IT IS FURTHER ORDERED that this Permanent Injunction shall be binding
  9 upon and inure to the benefit of the partners and all successors, assigns, parent
 10 entities, subsidiaries, officers, directors, members, shareholders, distributors,
 11 agents, affiliates, and all other persons who are in active concert or participation
 12 with anyone described herein.
 13                              RETENTION OF JURISDICTION
 14            IT IS FURTHER ORDERED that the Court shall retain jurisdiction for the
 15 purposes of construing, modifying, and enforcing this Permanent Injunction.
 16            IT IS SO ORDERED
 17
 18 DATED: ___________________
 19
 20
                                                   By:
 21                                                      Hon. Dean D. Pregerson
 22                                                      United States District Judge
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